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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :
                                                      :
       v.                                             :        Criminal No. 22-cr-329 (TJK)
                                                      :
JEREMY BERTINO,                                       :
                                                      :
                         Defendant.                   :

                                        JOINT STATUS UPDATE

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, and defendant Jeremy Bertino, by and through his attorneys JP Davis

and Taylor Goodnight, hereby notify the Court that the parties believe Mr. Bertino’s cooperation

to have been completed.       The parties request that the Court order a presentence report and set this

matter for sentencing in the ordinary course.             The parties are available any day in the two weeks

of February 2025, except for February 14, 2025.

       Undersigned counsel has conferred with JP Davis and Taylor Goodnight, counsel for Mr.

Bertino, and counsel advised that undersigned counsel may file this as a joint status report. 1

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      DC Bar No. 481052

                                            By:         /s/ Erik M. Kenerson
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       Counsel for both parties request leave to file this notice one day late and apologize for the delay in filing.
